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(c) the rights of crime victims to be protected from intimidation and to have the court,
where appropriate, issue protective orders as provided in sections 530.12 and 530.13 of
the criminal procedure law and sections 215.15, 215.16 and 215.17 of the penal law;

(d) the rights of crime victims to submit, where appropriate, a victim impact statement for
the pre-sentencing report and the parole hearing as provided in section 390.30 of the
criminal procedure law and section two hundred fifty-nine-i of this chapter;

(e) the rights of crime victims, where a defendant is being sentenced for a felony, to
request the right to make a statement at the time of sentencing as provided in section
380.50 of the criminal procedure law; and

(f) the rights of crime victims to request restitution and have the district attorney present
such request to the court and assist the crime victim in the filing and collection of a
restitution order in cooperation with the designated agency of the court as provided in
section 420.10 of the criminal procedure law and section 60.27 of the penal law.

(g) the rights of crime victims to be aware of the defendant's incarceration status by
providing the division of parole's contact information, including the division's toll-free
telephone number, as provided for in subdivision two of section two hundred fifty-
nine-i of this chapter. Such notice shall advise the crime victim to use the division's
toll-free telephone number to update contact information.

. This pamphlet shall provide space for the insertion of the following information:
(a) the address and phone number of the office of victim services;
(b) the address and phone numbers of local victim service programs, where appropriate;

(c) the name, phone number and office location of the person in the district attorney's
office to whom inquiries concerning the victims case may be directed; and

(d) any other information the division deems appropriate.

. (a) The commissioner of the division of criminal justice services in consultation with the
director of the office of victim services shall develop and prepare a standardized form for
the use of district attorney offices for the purpose of reporting compliance with this
section. The form is to be distributed to each district attorney. Every district attorney's
office in the state shall complete the reporting form annually and send it to the director of
the office of victim services by the first day of January each year subsequent to the
effective date of this subdivision.

(b) A copy of the report shall be retained by the district attorney and upon request, a victim
of a crime or relative of a victim shall be entitled to receive from the district attorney a
copy of their district attorney's annual report without charge. Any other person
requesting a copy of the report shall pay a fee not to exceed the actual cost of
reproduction.
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§ 647 — Criteria

Fair treatment standards for crime victims in the courts shall provide that:

1. The court shall consider the views of the victim of a violent felony offense, a felony
involving physical injury to the victim, a felony involving property loss or damage in
excess of two hundred fifty dollars, a felony involving attempted or threatened physical
injury or property loss or damage in excess of two hundred fifty dollars or a felony
involving larceny against the person, or of the family of a homicide victim or minor child,
regarding discretionary decisions relating to the criminal case, including, but not limited to,
plea agreements and sentence. In addition, the court shall consider the views of the victim
or family of the victim, as appropriate, concerning the release of the defendant in the
victim's case pending judicial proceedings upon an indictment, and concerning the
availability of sentencing alternatives such as community supervision and restitution from
the defendant. The failure of the court to consider the views of the victim or family of the
victim shall not be cause for delaying the proceedings against the defendant nor shall it
affect the validity of a conviction, judgment or order.

2. The victims and other prosecution witnesses shall, where possible, be provided, when
awaiting court appearances, a secure waiting area that is separate from all other witnesses.

3. The court shall assist in and expedite the return of property held for evidentiary purposes
unless there is a compelling reason for retaining it relating to proof at trial.

4. Victim assistance education shall be given to judicial and nonjudicial personnel of the
unified court system so that victims may be promptly, properly and completely assisted.

§ 648 — Review; Report and Implementation

1. The chief administrator of the unified court system shall review court practices,
procedures, services, regulations and laws to determine the adequacy and appropriateness
of its services with respect to crime victims, including victims with special needs,
particularly the elderly, disabled or victims of child abuse, domestic violence or sex-related
offenses. Such review shall include reasonable opportunity for public comment and
consultation with crime victims or their representatives, and may include public hearings.

2. After the review, and not later than two hundred seventy days after the effective date of
this section, the chief administrator of the unified court system shall submit a report to the
governor and the legislature, setting forth the findings of the review, including a
description of the services provided by the components of the unified court system and
recommendations for changes in its procedures, services, regulations and laws to improve
its services to crime victims and to establish and implement fair treatment standards for
crime victims.

3. Subject to the direction of the chief administrator, the components of the unified court
system shall expeditiously implement the recommendations of its report.

§ 649 — Miscellaneous
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Nothing in this article shall be construed as creating a cause of action for damages or injunctive
relief against the state or any of its political subdivisions or officers or any agency thereof.

of
RY 4) McKinney's Social Services Law § 483-aa

§ 483-aa. Definitions
The following definitions shall apply to this article:

(a) “Human trafficking victim” means a person who is a victim of sex trafficking as

defined in section 230.34 of the penal law or a victim of labor trafficking as defined in
section 135.35 of the penal law.

(b) “Pre-certified victim of human trafficking” is a person who has a pending application

for federal certification as a victim of a severe form of trafficking in persons as defined
in section 7105 of title 22 of the United States Code (Trafficking Victims Protection)
but has not yet obtained such certification, or a person who has reported a crime to law
enforcement and it reasonably appears to law enforcement that the person is such a
victim.

Aad § 483-bb. Services for victims of human trafficking

(a) The office of temporary and disability assistance may coordinate with and assist law

enforcement agencies and district attorney's offices to access appropriate services for
human trafficking victims.

(b) In providing such assistance, the office of temporary and disability assistance may

enter into contracts with non-government organizations for providing services to pre-
certified victims of human trafficking as defined in subdivision (b) of section four
hundred eighty-three-aa of this article, insofar as funds are available for that purpose.
Such services may include, but are not limited to, case management, emergency
temporary housing, health care, mental-health-counseling, drug addiction.screening and.
treatment, language interpretation and translation services, English language
instruction, job training and placement assistance, post-employment services for job
retention, and services to assist the individual and any of his or her family members to
establish a permanent residence in New York state or the United States. Nothing in this
section shall preclude the office of temporary and disability assistance, or any local
social services district, from providing human trafficking victims who are United
States citizens or human trafficking victims who meet the criteria pursuant to section
one hundred twenty-two of this chapter with any benefits or services for which they
otherwise may be eligible.

§ 483-cce. Confirmation as a victim of human trafficking

(a) As soon as practicable after a first encounter with a person who reasonably appears to a

law enforcement agency or a district attorney's office to be a human trafficking victim,
that agency or office shall notify the office of temporary and disability assistance and
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the division of criminal justice services that such person may be eligible for services
under this article.

(b) Upon receipt of such a notification, the division of criminal justice services, in
consultation with the office of temporary and disability assistance and the referring
agency or office, shall make a preliminary assessment of whether such victim or
possible victim appears to meet the criteria for certification as a victim of a severe form
of trafficking in persons as defined in section 7105 of title 22 of the United States Code
(Trafficking Victims Protection) or appears to be otherwise eligible for any federal,
state or local benefits and services. If it is determined that the victim appears to meet
such criteria, the office of temporary and disability assistance shall report the finding to
the victim, and to the referring law enforcement agency or district attorney's office, and
may assist that agency or office in having such victim receive services from a case
management provider who may be under contract with the office of temporary and
disability assistance, or from any other available source. If the victim or possible victim
is under the age of eighteen, the office of temporary and disability assistance also shall
notify the local department of social services in the county where the child was found.

Statutes
McKinney's Executive Law Ch. EIGHTEEN, Art. 23, Refs & Annos

CROSS REFERENCES

Action against offender's estate; victim as creditor, see Civil Rights Law § 79-d.
Action by victim of criminal offense, time limits, see CPLR 213-b.
Compensation for crime victims, see Executive Law § 620 et seq.

Deaf victim, appointment of interpreter, see Judiciary Law § 390.

Dispositions of offenders, restitution and reparation, see Penal Law § 60.27.

Dispute resolution, notice and opportunity for victim to be heard prior to referral, see CPL
215.10; CPL 215.20.

Employer unlawfully penalizing victim witness, misdemeanor, see Penal Law § 215.14.
Forfeiture of proceeds of crime, see CPLR 1310 et seq.

Intimidation of victim, felony, see Penal Law § 215.15 et seq.

Judicial administration, chief administrator, see Judiciary Law § 212.

Mentally incapacitated defendant, notice to potential victim of release, see CPL 730.60.
Notice to crime victim of case disposition, see CPL 440.50.

Orders of protection for crime victims while action pending, see CPL 530.12; CPL 530.13.
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Parole board, consideration of crime victim's statement, see Executive Law § 259-i.
Proceeds of crime, recovery by victim, see Executive Law § 632-a.
Released inmates; notification to victims and family members, see Correction Law § 149-a.

Restitution and reparation to crime victim, see Penal Law § 60.27.
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JULY 26, 2012

STATEMENT BY COALITION AGAINST TRAFFICKING IN WOMEN

We are a coalition of advocates for victims of sex trafficking who feel
compelled to speak in support of the complainant and her family in this case
and to express our concern about the dismissal of charges against the
defendants. In many respects, this case, in which a young girl from Crown
Heights reported victimization by a group of older men, one of whom has
been convicted of felony-level sex trafficking and another faces charges of
murder in unrelated cases, is typical of sex trafficking.

A victim of prior childhood sexual abuse, like an estimated 70 percent of prostituted
gitls and young women, the victim in this case reported that a group of adult men in
het neighborhood sexually assaulted her and seasoned her into prostitution when she
was in her early teens. Experts report that the average age of entry into prostitution is
13 years old and that prior sexual victimization renders many of these girls especially
vulnerable to their exploiters’ tactics of power and control. T'raffickers are often
trusted friends, family members, or neighbors.

There is voluminous evidence corroborating this young woman’s claim of sex
trafficking and rape. Police records and neighborhood witnesses support her and
her family’s account that they made complaints to the local police about her
victimization by a group of neighborhood men duting the early stages of her
trafficking but the police did nothing to protect her. While police response to sex
trafficking is changing under the leadership of Commissioner Kelly, it has been
longstanding police practice, in New York City and throughout the country, to ignote
the perpetrators and to blame and arrest the victims. The mental health issues faced
by this victim, for which her family assisted her in obtaining in-patient treatment, are
also typical. Most victims of prolonged sex trafficking suffer from acute post
traumatic stress disorder, as this victim does.

One of the most representative yet misunderstood features of this case is the
victim’s psychological bonds with her abusers. Like most gitls and young women
under pimp control, she viewed her traffickers, variously, as tormentors, protectors,
romantic partners, and surrogate father figures. Like most girls and young women
under pimp control, and like many victims of domestic violence, a closely related
form of gender abuse, the victim in this case expressed feelings of love for het
tormentots, at times wished to protect them from punishment, blamed herself for her
victimization, and repeatedly returned to them. This psychological condition,
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sometimes called “Stockholm Syndrome” and designated “traumatic bonding” by
mental health professionals, is widespread among victims of severe and prolonged
sexual and physical violence. It is typically engendered by beatings, rape, captivity, and
threats to the victim and the victim’s family membets, punctuated by expressions of
cating and love. The young woman in this case reported precisely this kind of
treatment at the hands of her traffickers.

It is unfortunate that statements made by the victim that should be viewed as
evidence of traumatic bonding have been wrongly interpreted by key legal
players in this case as evidence of consent and have become the basis for the
Brooklyn District Attorney’s Office’s decision to dismiss the charges against
the defendants. We tegret that expert witness testimony was not employed by the
Brooklyn District Attorney to educate the jury and the general public about the
meaning and significance of these statements. We are concerned that the dismissal of
these charges, coupled with silence about the role of traumatic bonding in this case
and others, will have a chilling effect on other victims’ willingness to report sex
trafficking and may foster the erroneous view that women and girls’ reports of sex
trafficking ate not to be trusted. We ate outraged that some of the media coverage has
denigrated the young woman in this case, who had the courage to come forward and
report years of hortific abuse. We are deeply saddened that the victim and her family
have been denied justice.

This case has nothing to do with the victim’s or her alleged perpetrators’ race,
religion, ot ethnicity. Sex traffickers come from every racial, ethnic, and
religious background, as do their victims. In New York City, most sex trafficking
victims are girls and young women from minority groups who grew up in conditions
of poverty. Their poverty and minority status render them vulnerable and are
exploited in the sexual stereotypes projected onto them by traffickers, who evoke
them in marketing their victims to johns. This case is no different. One of ten
children from a working-class family in a poor neighborhood, this victim’s ethnicity
and distinctive racial features were similarly exploited by the pimps who sold het and
the johns who purchased her body.

One atypical factor in this case is this victim’s strong family support. While her family
members were unable to protect her from years of exploitation and abuse, they
valiantly attempted to do so and today wholeheartedly stand behind their daughter
and sister. Attached is a statement from the victim’s father, who is determined to
prevent other gitls and young women ftom experiencing the suffering that his
daughter has endured.
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Speakers at Press Conference

Kim Sykes, Director of Special Projects, Coalition Against
Trafficking in Women

Taina Bien-Aime, J.D., former Executive Director, Equality Now,
New York State Anti-Trafficking
Coalition

Dr. B.J. Cling, Ph.D, J.D., Clinical and Forensic Psychologist

Danielle Latimer, LMSW, Commercial Sexual Exploitation Program
Coordinator and Clinician, Mount Sinai School of Medicine

Norma Ramos, J.D., Executive Director, Coalition Against
Trafficking in Women

Jane Manning, J.D., former prosecutor and Legislative Director,
New York City NOW

Shana Frydman, MSW, Director of Clinical Programs, Metropolitan
Council on Jewish Poverty

Kira Laffe, Outreach and Training Coordinator, New York City
Alliance Against Sexual Assault
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Press statement by the victim’s father
July 26, 2012

June 28th of last year, the indictment of four individuals who
had brutalized and prostituted my daughter since the age of 13
was announced with great fanfare by the Brooklyn District
Attorney. For me, her father, her mother, and the other members
of our family, this represented the end of a long nightmare. We
had hoped that this case would shed light upon the legal and
psychological issues that accompany this devastating crime.
Today, the District Attorney has chosen to discontinue this legal
battle. It is a decision that was made against our wishes and
against our will.

We have maintained our silence at the request of the District
Attorney, even as the defense in this case maintained a feverish
battle in the court of public opinion. We were told repeatedly by
the DA to maintain our silence, not to divulge facts that could be
useful to the defense. We were told that our chance to reply
would come in court. This is a promise that was not kept.

With our promise of silence now null and void, we now wish to
set the record straight with facts that were omitted from press
accounts of this case.

First, I became aware of the possibility of prosecution in my
daughter's case in May of last year, almost six weeks before the
indictments of Jamali and Jawara Brockett, Damien Crooks and
Darrell Dula. During that time, my daughter courageously
shared the details of her mental health history, as well as the
extent of her "traumatic bonding"with her traffickers, in which
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she felt fondness and affection that increased in direct
proportion to the extent that she was brutalized. All of these
facts she was eager to explain in a court of law. Repeatedly, she
and I asked people in the DA's office if these facts-- facts which
could easily be twisted and manipulated by defense attorneys-
would stand in the way of their prosecuting the case.
Repeatedly, we were assured that the case could go forward, that
my daughter was no more to be blamed for returning to abuse
than an abused wife or girl friend.

The press, hand fed a selective menu of leaks by the defense,
presented my daughter in the most damaging light possible.
Even when she attempted to learn self defense, a logical,
therapeutic step for someone who had been gang raped at age
13, it was splashed in the headlines in a sensationalistic and
negative way. What the press never focused on or even
acknowledged was that every single piece of information they
brought to light came from voluminous evidence turned over by
my daughter. Presented in its context, and explained by experts
in sex trafficking and domestic violence, the evidence should
have been more than sufficient to convict my daughters’
traffickers. It also would have enlightened the public on how to
protect their children, as well as to expose how traffickers target
their victims, “turn them out,” put them on the street, and profit
from their sale.

One of the most damning pieces of evidence cited against my
daughter was a supposed recantation which she had signed. A
copy of the so called recantation shows that it was defaced, and
that the words "not true" were crossed out. [This needs a little
more explanation.]What is not mentioned is that the signature
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was extracted from my daughter when she was at a hospital,
receiving medication intravenously. In this weakened state, she
was told by the man who goes by the official title of detective
that she could be arrested for prostitution if she did not recant.
What is also not mentioned is that this individual, who was on
duty wearing an NYPD badge, cursed at her as he left the room
with her coerced recantation. Sadly enough, this incident was
only one of many in which my daughter was rebuffed by police
when she reached out to law enforcement authorities to obtain
protection from the abuse to which she was being subjected.

Several of these attempts to obtain protection from the police
came when she was well under age and therefore legally unable
to consent to sex. Back when my daughter was only 14, ata
meeting arranged by Crown Heights Shmira, my son and I met
with Lieutenant Cantwell and other police officers at our local
precinct and voiced our concerns that my daughter was being
forced into sex by the Brockett brothers. Despite the our reports
of serious criminal activity—the repeated rape of a minor-- there
was absolutely no follow up by Lieutenant Cantwell or any of
the other officers to the best of our knowledge. In nine years of
dealing with the NYPD, I can truly say that a stolen car merits
more attention than a stolen childhood in many parts of New
York City. The attitude of the NYPD that we experienced
towards under aged trafficking victims was one of sneering
indifference, a response that served only to cover the backs of
perpetrators who turn out and prostitute under aged girls.

As a result our government’s failure to protect her, my daughter
Spent years in in-patient treatment. She now feels overwhelming
sadness about the time she spent away from family, and about
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the fact that a locked ward was the only place that she could be
free of sexual enslavement.

It should be self evident that a young woman who has been
subjected to years of physical and sexual abused would be in
need of serious psychiatric intervention. Tragically, what the
defense has shown, and what the District Attorney has affirmed,
is that a "history of mental illness" is a scarlet letter that in all
too many cases deprives its wearers of any legal recourse against
those who victimize them. In addition, the "traumatic bonding"
increasingly understood by the legal system, in cases of abused
spouses is used against them as proof that they sought out,
enjoyed, and deserved their victimization. One legal expert told
me that understanding of sex trafficking is today where the
understanding of spousal abuse was 30 years ago.

It saddens me and my family that we had to leave our beloved
community, one in which people of different racial, ethnic, and
religious groups lived side by side and learned to respect our
differences and cherish our commonalities, especially our desire
to nurture our children. We leave it with a deep sense of
empathy for other families that have lost children to "the street
life." Even today, in this hour of defeat, we remain committed
more than ever to bringing about the day when law enforcement
will treat forcing a child into prostitution with the same horror
felt by the average citizen. I personally feel conscripted to
fighting this tragic form of human suffering as a life's mission.

We had hoped that Brooklyn would be the place in which a
stand would be made against sex trafficking. This was
unfortunately not the case. Despite my daughter's total
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cooperation, the Brooklyn District Attorney has surrendered
against our will and without our consent. We have no doubt that
a day will come when a victim of sex trafficking will fight and
win ina battle in court and win. We have no doubt that precinct
by precinct, city by city and state by state, police and the courts
will reflect and act upon the natural indignation citizens feel
about this heinous crime.

In 1857, the infamous Dred Scott decision affirmed the legality
of slavery. In 1865, Juneteenth became a celebration of the
freedom Dred Scott never lived to see. Despite today's surrender
in Brooklyn, the fight against sex trafficking goes on. I am
saddened as a father and as a human being that this decision to
drop charges was made. As a Brooklynite, | am ashamed as
well.

Women are half of the human race. When women are oppressed
by gender violence and inequality, men are diminished as well.
Until my dying day, the sex trafficking of women and girls, men
and boys, in prison and in freedom [not sure what you mean by
“men and boys, in prison and in freedom”] will remain my
cause. The dignity given us by G-d is not ours to diminish or to
deny others. This struggle will go on. I thank the many people
who behind the scenes have assisted our family in coping with
this crisis and who have helped my daughter reclaim her
freedom and dignity. G-d bless you all and G-d save our
country.
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ON 4

IN Anti-Trafficking
Network

NEW YORK STATE ANTI-TRAFFICKING LAW

New York State (NYS), especially New York City (NYC), is a destination for trafficked persons from all over the
world who are forced into various labor sectors, such as restaurants, agriculture, domestic or sex work. To address
this important concern, New York State enacted an anti-trafficking law that took effect on November 1, 2007.’ This
document highlights the key changes made to New York State laws.

NEW YORK PENAL LAW
The law adds new sections to the Penal Law, creating the crimes of “Labor Ttafficking” and “Sex Trafficking.”

“Labor Trafficking”

e Anew N.Y. Penal Law §135.35 creates the crime of “Labor Trafficking.” A person commits this crime when he
ot she compels or induces another person to engage in labor, or rectuits, entices, harbors, or transports such
other person by means of intentionally: (1) providing the victim with certain drugs; (2) requiring servicing of a
debt that is caused by a course of conduct, with intent to defraud such person; (3) withholding or destroying
government identification documents; (4) using force or engaging in any scheme, plan or pattern to compel or
induce such person to engage in labor activity by making that person fearful of one of seven actions ot
consequences against him or her. (For the full text of this section, please see Appendix A.)

e N.Y. Penal Law §135.35 makes the crime of “Labor Trafficking” a class D felony, with a maximum sentence of
7 years imprisonmen t.? In addition, a court may order a defendant to pay a fine of $5,000 or double the
defendant’s gain from the commission of the crime.”

e Anew N.Y. Penal Law $135.36 provides that a victim of “Labor Trafficking” is not an accomplice of the
trafficker. (For the full text of this section, please see Appendix A.)

“Sex Trafficking”

e A new N.Y. Penal Law Section §230.34 creates the crime of “Sex Trafficking.” A person commits this crime
when he or she intentionally advances or profits from prostitution by: (1) providing the victim with certain
drugs;' (2) making material false statements;’ (3) withholding or destroying government identification
documents; (4) requiring repayment of a debt;° (5) using force or engaging in any scheme, plan or pattern to
compel or induce such person to engage in prostitution by making that person fearful of one of eight actions or
consequences against him or her. (For the full text of this section, please see Appendix B.)

 

1S.B. 5902, 228th Leg., Reg. Sess. (N.Y. 2007), chaptered on June 6, 2007.
2 See N.Y. Penal Law §70.00(2)(d).
3 See N.Y. Penal Law §80.00.
4N.Y. Penal Law §230.34(1), relating to drugs, is more detailed in the “Sex Trafficking” provision than in the “Labor Trafficking”
provision at N.Y. Penal Law §135.35(1).
5 N.Y. Penal Law §230.34(2), relating to the use of fraud, has no counterpart in the “Labor Trafficking” provision.
6 N.Y. Penal Law §230.34(4), relating to repayment of a debt, does not require a “systematic ongoing course of conduct with intent to
defraud such person” as required in the “Labor Trafficking” provision at N.Y. Penal Law §135.35(2).
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N.Y. Penal Law §230.34 makes the crime of “Sex Trafficking” a Class B felony, with a maximum sentence of 25
years imprisonment.’ In addition, a court may order a defendant to pay a fine of $5,000 or double the
defendant’s gain from the commission of the crime.”

A new N.Y. Penal Law §230.36 provides that a victim of “Sex Trafficking” is not an accomplice of the
trafficker. (For the full text of this section, please see Appendix B.)

Changes to the Penal Law Relating to Prostitution

N.Y. Penal Law §230.25, “Promoting Prostitution in the 3" Degtee,” is amended to include the selling of
traveled-related services, knowing that such services include or ate intended to facilitate travel for the purpose
of patronizing a prostitute.

Repeals N.Y. Penal Law §230.03, “Patronizing a Prostitute in the 4" Degree,” and amends §230.04 to make the
lowest level of “Patronizing a Prostitute” a Class A misdemeanot.

NEW YORK SOCIAL SERVICES LAW

The law adds a new Article 10-D to the Social Services Law, entitled “Services for Victims of Human Trafficking.”
New York State Office of Temporary and Disability Assistance (OTDA) and the Division of Criminal Justice
Services (DCJS) are entrusted with ensuring that trafficked persons obtain necessary services. The process of

determining eligibility for services is called “confirmation.

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N.Y. Soc. Ser. Law §483-bb(a) authorizes OTDA to coordinate with and assist law enforcement agencies and
district attorneys’ offices to access appropriate services for trafficked persons.

N.Y. Soc. Ser. Law §483-bb(b) states that OTDA may enter into contracts with non-governmental
organizations for providing pre-certified victims of human trafficking services insofar as funds are available.

N.Y. Soc. Ser. Law §483-cc(a) states that after the first encounter with a trafficked person, law enforcement or the
district attorney’s office shall notify OTDA and DCJS that this person may be eligible for services.

N.Y. Soc. Set. Law §483-cc(b) further states that upon receipt of notification, DCJS, in consultation with
OTDA, shall make a preliminary assessment of whether such victim appears to meet criteria for certification as
stated under federal law (section 7105 of title 22 of U.S. Code). If the victim meets the criteria, OTDA will
inform the victim and the law enforcement agency or district attorney’s office. OTDA may also assist in helping
victim find services. If victim is under age of 18, then OTDA shall notify local department of social services in
county where child found.

N.Y. Soc. Ser. Law §483-dd states that the state or local law enforcement agency or district attorney’s office
must provide the victim with the Form I-914B for immigration purposes upon the request of the trafficking
victim or victim’s representative.

 

7 See N.Y. Penal Law §70.00(2)(b).
8 See N.Y. Penal Law §80.00.
° See N.Y. Soc. Ser. Law §483-cc.
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GAPS IN THE LAW

Labor trafficking is not treated as serious a crime as sex trafficking. DCJS has recommended that some labor
trafficking cases should be referred to federal law enforcement for prosecution, since those penalties are more
substantial.

The law does not include an independent private right of action.

The law does not provide for restitution or forfeiture of traffickers’ assets.

There is no provision that allows for victims to vacate prior convictions for conduct involuntarily engaged in as
a part of the trafficking scheme.

There is no specific mechanism for service providers to make referrals to OTDA directly, meaning that a
trafficked person must be involved with law enforcement in order to access services that are available through
the confirmation process.

WHAT YOU SHOULD DO IF YOU BELIEVE SOMEONE IS TRAFFICKED

Immediately, reach out to social service providers and attorneys who ate experts on trafficking. You can contact
Safe Horizon, New York Association for New Americans, Sex Workers Project at the Urban Justice Center,
City Bat Justice Center, Asian American Legal Defense and Education Fund, and The Doot.

If the trafficked person is in immediate physical danger, call your local law enforcement and emphasize that the
person is trafficked.

If the trafficked person is a minor who is not tequited to cooperate under the law, and does not want to
cooperate, advocate to ensure his or her rights are not violated.

Encourage your organization to receive training on the issue of trafficking in persons and on the new law.

If you are with law enforcement or a district attorney’s office, call OTDA and DCJS immediately. In addition,
call a service provider who is experienced in working with trafficked persons to coordinate provision of
essential health, housing, food and counseling resources.

If you are OTDA or DCJS, after receiving a referral from law enforcement, confirm the person as trafficked
and contact appropriate service providers.

Law enforcement and/or the district attorneys’ offices must complete an I-914B form immediately upon
identifying a person as trafficked and forward it to either the trafficked person or his or her representative.
